       CASE 0:11-cr-00228-MJD-JJK           Doc. 131     Filed 11/09/11     Page 1 of 1




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                                          Crim. No. 11-228 (MJD/JJK)

                       Plaintiff,

v.

(3) Patrick Joseph Kiley,                                           ORDER
also known as Pat Kiley;

                       Defendant.


Tracy L. Perzel, Esq., and David J. MacLaughlin, Esq., Assistant United States Attorneys,
counsel for Plaintiff.

David E. Zins, Esq., Attorney at Law, and H. Nasif Mahmoud, Esq., McKenzie, Wilkes &
Mahmoud, counsel for Defendant Kiley.


       The above matter comes before the Court upon the Report and Recommendation of

United States Magistrate Judge Jeffrey J. Keyes dated October 18, 2011. No objections have

been filed to that Report and Recommendation in the time period permitted. Based on the

Report and Recommendation of the Magistrate Judge, on all of the files, records, and

proceedings herein, the Court now makes and enters the following Order.

       IT IS HERERBY ORDERED that:

       1.      Defendant Kiley’s Motion to Dismiss (Doc. No. 93), is DENIED; and

       2.      Defendant Kiley’s Motion to Suppress Statements of Patrick J. Kiley (Doc.

No. 95), is DENIED.

Date: November 9, 2011
                                                          s/Michael J. Davis
                                                          MICHAEL J. DAVIS
                                                          Chief Judge
                                                          United States District Court
